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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE

MUMINA ALI,

                Plaintiff,

        vs.                                                      Civil No. 20-00255-NT

CITY OF PORTLAND, JEFFREY DRUAN, SUNA
SHAW and MICHAEL SAUSCHUCK,

                Defendants



                                STIPULATION OF DISMISSAL

        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties to the

above-captioned action stipulate that the above-captioned is hereby dismissed with prejudice and

without costs or attorney’s fees to any party.



Dated: 12/1/20                  BY:     /s/ Thomas F. Hallett
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Dated: 12/1/20                  BY:     /s/ John J. Wall, III
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                               CERTIFICATE OF SERVICE

        I hereby certify that on December 1, 2020, I electronically filed the above Stipulation
of Dismissal using the CM/ECF system, which will provide notice to me and the other counsel
of record.

       Dated at Portland, Maine this 1st day of December, 2020.

                                    Attorneys for Defendants City of Portland, Jeffrey Druan,
                                    Suna Shaw and Michael Sauschuck
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                             BY:    /s/ John J. Wall, III
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